                                 Case 4:18-cv-00329-RH-CAS Document 2 Filed 07/13/18 Page 1 of 1
    JS 44 (Rev. 06/17)                                                            CIVIL COVER SHEET
    The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
    provided by local rules of court. This fonn, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
    purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEAT PAGE OF lHIS FORlvf)

    I. (a) PLAINTIFFS                                                                                                 DEFENDANTS
    MARION P. HAMMER                                                                                                LAWRENCE T. "LOL" SORENSEN, et. al.

         (b)   County of Residence of First Listed Plaintiff               Leon_County, Fl().-'ric:.cd=a__            County of Residence of First Listed Defendant                    ~~ura -~~u~ty~ Califom~~---­
                                        (EfCEPT IN US. PLAINTIFF CASES)                                                                                rIN U.S   PLAINTIFF CASES ONLY)
                                                                                                                      NOTE:         IN LAND CONDEMNATION CASES. USE THE LOCATION OF
                                                                                                                                    THE TRACT OF LAND INVOLVED.

      {C) Attorneys (Firm Name. Address, and Telephone Number)                                                        Attorneys (If Knomz)
    Kenneth G. Turkel and Shane B. Vogt, Baja Cuva Cohen Turkel P.A.,
    100 North Tampa Street, Suite 1900, Tampa, FL 33602; (813) 443-2199


    II. BASIS OF JURISDICTION (Placean                            "X"'inOneBoxOn~FJ                     Ill. CITIZENSHIP OF PRINCIPAL PARTIES rPtace an                                            "'X'" in one Box for PlainrifJ·
                                                                                                                 (For Dil'ersity Cases OnM                                                  and One Boxfor Defendant)
    0 I      U.S. Government                0 3      Federal Question                                                                          PTF       DEF                                                 PTF        DEF
                Plaintiff                              (US. GoFemment Not a Parry)                          Citizen of This State              [;( l     0 I         Incorporated or Principal Place          0 4       0 4
                                                                                                                                                                       of Business In This State

    0 2      U.S. Government                ~4       Diversity                                              Citizen of Another State           0          ~          Incorporated and Principal Place          0 5      0 5
                Defendant                              (Indicate Ciri::enship ofParties in Item Ill)                                                                    of Business In Another State

                                                                                                            Citizen or Subject of a            0 3        0      3   Foreign Nation                           0 6       0 6

    IV NATURE OF SUIT (Place an                        '"X'" in One Box Only)                                                                             crIC'k here     or: N ature o fS Ult
                                                                                                                                                                                            . ( 'o d e D CSCfiPtJOnS.
I               CONTRACT                                                  TORTS                               FORFEITUR~ENALTY                                BANKRUPTCY                         OTHER STATLJTES               I
    0    II 0 Insurance                       PERSONAL INJURY                   PERSONAL INJURY             0 625 Drug Related Seizure             0 422 Appeal 28 USC 158                 0 375 False Claims Act
    0    120 Marine                        0 31 0 Airplane                   0 365 Personal Injury -              of Property 21 USC 881           0 423 Withdrawal                        0 376 Qui Tam (31 USC
    0    130 Miller Act                    0 315 Airplane Product                   Product Liability       0 690 Other                                  28 usc 157                               3729(a))
    0    140 Negotiable Instnnnent                 Liability                 0 367 Health Care/                                                                                            0 400 State Reapportionment
    0    150 Recovery of Overpayment       ~ 320 Assault, Libel &                  Phannaceutical                                                                       Kllitl ll)         0 410 Antitrust
              & Enforcement of Judgment            Slander                         Personal Iqjuty                                                 0 820 Copyrights                        0 430 Banks and Banking
    0    I 51 Medicare Act                 0 330 Federal Employers'                Product Liability                                               0 830 Patent                            0 450 Commerce
    0    152 Recovery of Defaulted                 Liability                 0 368 Asbestos Personal                                               0 835 Patent- Abbreviated               0 460 Dep01tation
              Student Loans                0 340 Marine                             Injury Product                                                       New Drug Application              0 470 Racketeer Influenced and
              (Excludes Veterans)          0 345 Marine Product                    Liability                                                       0 840 Trademark                               Corrupt Organizations
    0    153 Recovery of Overpayment               Liability                  PERSONAL PROPERTY                            LABOR                     SOCIAL SECURITY                       0 480 Conswner Credit
              of Veteran's Benefits        0 350 Motor Vehicle               0 370 Other Fraud              0 710 Fair Labor Standards             0 861 HIA (!395ft)                      0 490 Cable/Sat TV
    0    160 Stockholders' Suits           0 355 Motor Vehicle               0 371 Truth in Lending                Act                             0 862 Black Lung (923)                  0 850 Securities/Commodities/
    [J   190 Other Contract                       Product Liability          0 380 Other Personal           0 720 Labor/Management                 0 863 DIWC/DIWW (405(g))                       Exchange
    0    195 Contract Product Liability    0 360 Other Personal                    Property Damage                 Relations                       0 864 SSID Title XVI                    0 890 Other Statuto!)' Actions
    n    196 Franchise                            lnjuty                     D 385 Property Damage          0 740 Railway Labor Act                0 865 RSf (405(g))                      0 891 Agricultural Acts
                                           D 362 Personal Injury -                 Product Liability        0 751 Family and ivkdical                                                      0 893 Enviromnental Matters
                                                  Medical Malpractice                                              Leave Act                                                               0 895 Freedom oflnfonnation
I            REAL PROPERTY                     CIVIL RIGHTS                  PRISONER PETITIONS             0 790 Other Labor Litigation               FEDERAL TA.X SUITS                        Act
0        210 Land Condenmation             0 440 Other Civil Rights           Habeas Corpus:                0 791 Employee Retirement              0 870 Taxes (U.S. Plaintiff             0 896 Arbitration
0        220 Foreclosure                   0 441 Voting                     0 463 Alien Detainee                  Income Security Act                     or Defendant)                    0 899 Administrative Procedure
0        230 Rent Lease & Ejectment        0 442 Employment                 0 510 Motions to Vacate                                                0 87 I IRS~ Third Party                       Act/Review or Appeal of
0        240 Torts to Land                 0 443 Housing!                         Sentence                                                                26 usc 7609                            Agency Decision
0        245 Tort Product Liability              Acc01mnodations            0 530 General                                                                                                  0 950 Constitutionality of
0        290 All Other Real Property       0 445 A mer. w/Disabilities-     0 535 Death Penalty                    IMMIGRATION                                                                   State Statutes
                                                 Employment                   Other:                        0 462 Naturalization Application
                                           0 446 Amer. w/Disabilities -     0 540 l'vlandamus & Other       CJ 465 Other Immigration
                                                 Other                      0 550 Civil Rights                     Actions
                                           0 448 Education                  0 555 Prison Condition
                                                                            0 560 Civil Detainee -
                                                                                  Conditions of
                                                                                  Confinement

V. ORIGIN               (Placean "X"inOneBoxOnlv)
l':i(    I   Original          0 1 Removed from                  0    3    Remanded from               0 4 Reinstated or         0 5 Transferred from                0 6 Multidistrict               0 8 Multidistrict
             Proceeding                State Court                         Appellate Court                  Reopened                    Another District                    Litigation -                  Litigation -
                                                                                                                                        (specib')                           Transfer                      Direct File
                                               Cite the U.S. Civil Statute under which you are filing (Do          110t   citejurisdictiona/.,tatutes unless dil,ersity):
VI. CAUSE OF ACTION r2;,..;;;B_U~·..;;;;..S.;...;;;.C'"'"".-'-
                                                            13 3 2
                                                               ; ; . ; ='-----~----;--:----..,.----..,....,....,.---.=----;:-;.......---------------
                                                                                                                                                                                                          on seclusion.
VII. REQUESTED IN                                                                                                                                                CHECK YES only if demanded in complaint:
     COMPLAINT:                                      UNDER RULE 23, F.R.Cv.P.                                                                                    JURY DEMAND:                  JSi{ Yes       ONo

VIII. RELATED CASE(S)
                                                  (See instructions):
      IF ANY                                                                JUDGE                                                                      DOCKET NUMBER                  4:18-cv-00137-MW-CAS




         RECEIPT#                      AMOUNT                                                                                        JUDGE                                  MAG. JUDGE
